EXHIBIT N

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 1 of 39

Exhibit N, pg. 1 of 2
$71/24,9:10 PM Gmail ~ Hesed-Et v, Bryson et al__ Availability for Defendants' Depositions

: G mail Brother El <teamwork3@gmail.com>

Hesed-El v. Bryson et al__ Availability for Defendants’ Depositions

Brother EL <teamwork3@gmaill.com> Wed, Jan 10, 2024 at 12:49 PM

To: Dan Waish <DWalsh@roberts-stevens.com>
Ce: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson <PJackson@roberts-

stevens.com>

Dear Roberts & Stevens, PA.:

I'm following up on the below request to coordinate a convenient time to depose your clients, Robin Bryson and Mission Hospital. | need
a response from you as soon as possible so that | can secure a court reporter for each deposition. Thank you.

Respectfully,

Brother T. Hesed-El
taamwork3@gmail.com
470-018-2585

On Sat, Jan 6, 2024 at 8:01 AM Brother EL <teamwork3@gmail.com> wrote:
{ Mr. Walsh,
i

I'd like to depose the defendants in this action. Would any of the dates listed below work for you and your client? I'd need them
' available for a full day.
Piease note that these proposed dates are contingent upon timely receipt of your clients' responses to my first set of discovery

requests. Unless notified otherwise, each deposition will be conducted remotely via secure video conferencing. If none of these dates
work for you, we may need to meet/confer fo discuss extending the discovery deadline to accommodate your clients' availability.

Robin Bryson
* February 6, 7, 13, 14,15, 20
Mission Hospital - Rule 30{b)}(6) PMK
« February 21, 22, 26, 27, 28, 29

Respectfully,

Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585

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Case 1:21-cv-00305-MR-WCM Document 182-2. Filed 04/08/24 Page.2 of 39

Exhibit N, pg. 2 of 2

4f7124, 9:19 PM Gmail - Hesed-El v, Bryson et al _ Availability fer Defendants’ Depositions

Brother El <teamwork3@gmail.com>

Gmail

Hesed-El v. Bryson et al __ Availability for Defendants’ Depositions

Brother EL <teamwork3@gmail.com> Mon, Jan 15, 2024 at 2:43 AM

To: Dan Walsh <DWalsh@roberts-stevens.com>
Cc: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson <PJackson@roberts-

stevens.com>
Mr. Walsh,

Thanks for your response.
* Regarding itemized iitigation costs, 1 should have that to you by late tonight
* As for the Rule 30(b)(6) deposition of Mission Hospital, | intend to depose the PMK regarding the topics listed below:
o Explanation of medical terms and discussion of medical records provided to Plaintiff

© Explanation of employees' roles and involvement in Plaintiff's treatment during perlod of involuntary hospitalization
© Mission Hospital's training, policies and procedures relative to emergency care, mental health treatment, inpatient

commitment, and outpatient commitment
« {'ve reached out to Moorish Science Temple leadership regarding the invoica(s) and was informed that they should be ready in
about 2 weeks. As for the depositions, I'm hoping to obtain Sheiks Johns El and Barnes Bay's availability for depositions by the
end of this week. As for Dr. Weiss, I've reached oul to his office but have not yet received a response, Will keep you posted when

| hear back from them.

Please let me know if you have any questions or concerns. Thank you.

Respectfully,

Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585

[Quoted text hidden]

https://mail.google.com/mail/w0/7ik=250 7103 360d. viewspt &search=all& permmsgid=msg-0:126464696 | 748096535 7 &simpl=msg-a:126464696 f 7480965357

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EXHIBIT O

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 4 of 39

Exhibit 0, pg. 1 of 3
4/7/24, 9:30 PM Gmail - Hesed-El y. Bryson, et al: Notice of Deposition and Follow-up on Rule 30(b)(6} Meet and Confer

o Gmail Brother El <teamwork3@gmail.com>

Hesed-El v. Bryson, et al: Notice of Deposition and Follow-up on Rule 30(b}(6} Meet and
Confer

Brother EL <teamwork3@gmail.com> Fri, Feb #6, 2024 at 4:53 PM
To: Dan Walsh <DWalsh@roberts-stevens.com>

Ce: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson <P Jackson@roberts-
stevens.com>

Called Dr. Welss's cell and his voicemail is full. Called his office manager and he confirmed thal Dr. Weiss has not retumed to the office

since his hospitalization.

On Fri, Feb 16, 2024 at 4:47PM Brother EL <teamwork3@gmail.com> wrote:
i Understood, thanks for the clarification. | was in communication with his office earlier this week, haven't heard from him. Let me try fo
| call him directly.

On Fri, Feb 16, 2024 at 3:54 PM Dan Walsh <DWalsh@roberts-stevens.com> wrote:

| 1 mean that, at earliest, | will be unable to review and submit a joint motion prior to this weekend, and more likely, it
! ; will be sometime on Monday.

if Dr, Weiss is simply not communicating with you, | may serve him a notice of deposition and subpoena for same,
| | and then see how he responds.

| Thanks,

| Dan Walsh

|
|

|

i

| |

! : Daniel H, Walsh
|

|

Attorney | Roberts & Stevens, PA.
| City Centre Building | 301 College Street, Suite 400, Asheville, NC 28861

Office: 828-252-6600 | Direct: 828-210-6818
www.roberts-stevens.corm

From: Brother EL <teamwork3@gmail.com>

' Sent: Friday, February 16, 2024 3:43 PM

' To: Dan Walsh <DWalsh@roberts-stevens.com>

' Ce: Cheri Brown <CBrown @roberts-stevens.com>; Jessica Kimball <JKimbali@roberts-stevens.com>; Phillip
Jackson <PJackson@roberts-stevens.com>

Subject: [EXT}Re: [EXT}Re: [EXT}Re: [EXT]Re: [EXT]Re: [EXT}Re: (EXT]Re: {EXT]Re: [EXT}Hesed-El v. Bryson, et
al: Notice of Deposition and Follow-up on Rule 30(b)(6) Meet and Confer

Mr. Walsh,

What do you mean by “unable to meet the requested timeline"?

:

: Regarding Dr. Weiss, | have not received any recent updates from him and therefore cannot confirm his status at this time.

i
i

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Exhibit 0, pg. 2 of 3
4/7/24, 9:30 PM Gmail - Hesed-El v, Bryson, et al: Notice of Deposition and Follow-up on Rule 30(6)(6) Meet and Confer

4

On Fri, Feb 16, 2024 at 3:02 PM Dan Walsh <DWalsh@roberts-stevens.com> wrote:
: ) Mr. Hesed-Et,

{ will review the proposed joint motion but am unable to meet the requested timeline. ! hope to have a response to
| | you prior to Ms. Bryson’s deposition.

i] | Regarding Dr. Weiss, first, can you confirm for me whether he is unable or unwilling to provide his services?

| | Regarding your motion to amend to include a claim of ordinary negligence, yes, | oppose it on the same basis
| | which | explained in prior memorandums.

| Additionally, | am hoping to make a production to you this weekend of some policies and Ms. Bryson’s
employment file, which | received today.

Thanks,
' : } Ban Walsh

: Daniel H. Walsh

Attorney | Roberts & Stevens, P.A.
City Centre Building | 301 College Street, Suite 400, Ashevilie, NC 28804

| | Office: 828-252-6600 | Direct: 828-210-6818
| www. roberts-stevens.com

| From: Brother Et. <teamwork3@gmail.com>

| Sent: Friday, February 16, 2024 2:45 PM

' To: Ban Walsh <DWalsh @roberts-stevens.com>

: } Ce: Cheri Brown <CBrown @roberts-stevens.com>; Jessica Kimball <JKimball@roberts-stevens.com>; Phillip
' Jackson <PJackson @roberts-stevens.com>

| Subject: [EXT]Re: [EXT]}Re: [EXT]Re: [EXT]Re: [EXT]Re- fEXT]Re: [EXTjRe: [EXT]Hesed-El v. Bryson, et al:
. Notice of Deposition and Follow-up on Rule 30(b)(6) Meet and Confer

Mr. Walsh,

1 | Please see my responses fo your email #1-7, plus #8, which is a new point of discussion.

! 1. Sheik Johns El is confirmed for February 26, 4-8pm ET. Please provide a notice of remote deposition as soon as passible.

i 2. Sheik Barnes Bey has nof retumed my attempts to reach him.

i 3. My sister has agreed to sit for a deposition. | will let you know once she provides her availability.

' 4. As discussed during our call, February 27's deposition of Mission Hospital's corporate designee is contingent upon
whether | receive the decuments | have requested fo be produced. Without the ability fo review those documents, his/her
deposition will likely be a wasted expense.

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© inthe event the documents are not produced, additional time may be necessary to procure the documents
elsewhere.
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Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 6 of 39

Exhibit O, pg. 3 of 3
4724, 9:30 PM Gmail - Hesed-EI v, Bryson, et al: Notice of Deposition and Follow-up on Rule 30(b)6) Meet anc Confer
ri 5. Dr. Weiss's office has not responded to my request to reschedule his deposition. Next week, | may file a motion for leave
Li : to retain his replacement(s).
Ped
|
lt

© Will you oppose my motion for leave?
i » The expert(s) will need time to review the case and wrile a report.

6. Will need the court to grant an extension of time to depose Vaya Health.

7. Ehave alfached a joint motion for your review. Given the short timeline, it probably would be best that you file it

i elactronically today. Please feel free to modify the draft as needed and return to me for review/approval.

| 8, In addition to the above, please take notice thal J've identified a mistake made by Judge Reidinger relating to his
affirmation [Doc. 143] of the Magistrate's Order [Dac. 138] denying my motion to amend. | intend to file a motion with the

| Court asking for relief due to the judge's error of law. Simply, it is my position that the First Amended Gomplaint did in fact

| contain a claim for ordinary negligence and the Court's finding to the contrary and resutting denial of liberty to amend was

|

|

an error.

eo Will you oppose my Rule 60(b)(1} motion?

|

Brother T. Hesed-Ei

ii ! teamwork3@gmait.com

' | 470-918-2585

On Thu, Feb 15, 2024 at 6:12PM Dan Walsh <DWalsh@roberts-stevens.com> wrote:

; Mr. Hesed-El,

i}
i | We conducted a meet and confer today wherein the following communications were made:
i

1) Deposition of Sheik Johns-E! is preliminarily scheduled for Feb. 26 from 4 to 8 pm, but this requires
| confirmation from him.

2) Deposition of Sheik Barnes-Bey is as yet not scheduled as you are awaiting communication from him.

| 3) Deposition of your sister has been requested and you are determining her schedute. Evenings and
weekends are acceptable.

4) The Mission Hospital, inc., corporate designee is likely to be confirmed soon, and in anticipation of that, we
have penciled in an evening deposition sometime during the week of Feb. 27 to Mar. 1.

I

| | | | 5) Dr. Weiss continues to be unavailable due to emergent medical concerns. In the event he cannot be a

{ | } | witness you may seek alternate experts, however, you understand that this would require motion practice.

i Alternatively, you are checking if next week is a possibility for the purposes of a deposition and will let me know
i asap due to the short timeframe involved.

8) Vaya's deposition is unlikely at this point as that they have communicated to you that they are still searching
for the requested documentation.

: 7) We are both open to a joint motion for a limited extension of the discovery window, regarding {a) deposition
of Vaya and the documents which you have requested from them, and (b) deposition of Dr. Weiss.

' | Please let me know if there’s any information here which is incomplete or incorrect.

Thanks,
Dan Waish

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Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 7 of 39

EXHIBIT P

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 8 of 39

Exhibit P, pg. 1 of 1
4/7/24, 9:31 PM Gmail - Deposition of Sheik Johns El

e Goma il Brother £l <teamwork3@gmail.com>

Deposition of Sheik Johns El

Brother EL <teamwork3@gmail.com> Sun, Feb 18, 2024 at 7:40 PM
To: Dan Walsh <DWalsh@roberts-stevens.com>
Cc: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson <PJackson@roberts-

slevens.com>

Mr. Walsh,

Please note that I've retained Shelk Johns El as an expert witness pursuant to Rule 26(a){2)(D)(ii). If you wish to depose him, he needs
a notice of deposition and to be compensated for his time.

Respectfully,
Brother T. Hesed-El
teamwork3@gmail.com

470-918-2585
[Quoted text hidden]

bitps://mait.google.com/mail/a/0/7ik=2507103360& view=ptdesearch=all& permmsgid-nisg-ar-71 1372567784378000 1 &simpl=msg-a:r-7 | 1372567784378000 1 lL

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EXHIBIT Q

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 10 of 39

Exhibit Q, pg. 1 of 2
4/7/24, 9:38 PM Gmuif - Re: Hesed-Hi v. Bryson, et al. Recap of 2.27,2024 Meet and Confer

Gmail Brother El <teamwork3@gmail.com>

Re: Hesed-El v. Bryson, et al. Recap of 2.27.2024 Meet and Confer

1 message

Brother EL <teamwork3@gmail.com> Wed, Feb 28, 2024 at 7:35 AM
To: Dan Walsh <DWalsh@roberts-stevens.com>
Cc: Cheri Brown <CBrown@roberts-stevens.com>, Phillip Jackson <PJackson@roberts-stevens.com>, Jessica Kimball

<JKimball@roberts-stevens.com>

Mr. Waish,
Ehope you're feeling better, Please note, there was one other point | forgot to mention in my previous email:

8. You agreed to ask Robin Bryson whether she is available to sit for her deposition on March 12, 1-10pm.

That said, | will try fo reach you again this morning to confer on the unresolved items. | need to file my motion to withdraw
Dr. Weiss today and for us to agree on a date for the joint motion to extend the discovery deadline. | also need the 806
pages of medical records from your assistant as soon as possible. Please note that Melissa West is confirmed for March
3, 5-10pm.

As fer Dr. Zenn, given that | still have not received the requested documents relative to our Rule 37 Discovery Dispute, i
ask that we include him in our joint motion to extend the discovery deadline as well.

Given the time restraints of this case, if [do not hear from you by 1pm today, | will assume you oppose the motion to
extend the deadiine and motion to withdraw Dr. Weiss and will indicate that in my motions filed with the Court.

Respectfully,

Brother T. Hesed-El
isamwork3@gmail.com
470-918-2585

On Tue, Feb 27, 2024 at 7:32PM Brother EL <teamwork3@gmail.com> wrote:
! Mr. Walsh,

! Per our conversation, this message confirms that | intend to file a motion to withdraw Dr. Weiss as my expert witness. |
| called you shortly before 6pm to confer on the joint motion to extend the discovery deadline and your consent to my
i motion to withdrawal! Dr. Weiss. You did not answer; left a VM for you to return my call.

Here is a recap of what we spoke about. Please let me know if you have any questions or if any revisions are needed.

4, Lam waiting to hear back from Melissa West to confirm the March 3 deposition date.

2. You will reach out to Dr. Zenn to confirm his availability for his deposition.

3. You agreed to contact the employers of the names provided in the pravious email for the purpose of scheduling a
deposition.

| 4. You requested to review the draft motion to withdraw Dr. Weiss - pending response

5. You agreed te file a joint motion to extend discovery deadline - pending response

6. You stated that your assistant will send me the full medical record PDF via secure method

7. You have not reviewed the Rule 37 dispute letter yet

Respectfully,

| Brother T. Hesed-El
teamwork3@gmail.com
470-918-2585

hitps;//mail.google.cony mail/a/0/7ik=2507(03360& view=pté&search=all &permthid=thread-a:e-5 19356742901 798425 &simpl=msg-a:14967842344 10748791

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 11 of 39

V2

Exhibit Q, pg. 2 of 2

4/7/24, 9:38 PM Gmail - Re: Hesed-HE v. Bryson, et af. Recap of 2.27.2024 Meet and Confer
On Sun, Feb 25, 2024 at 11:59PM Brother EL <teamwork3@gmail.com> wrote:
Mr. Waish,

| Thanks for speaking with me on Saturday regarding Dr, Weiss' 2nd cancelled deposition. Below are my agenda
topics for tomorrow's meet and confer:

« Joint motion to extend discovery deadline
o Vaya Health deposition and RPD (March 18-24)
| o Bryson deposition (March 44 of 12, 1-11pm)
« Additional deposition (agree to increase fact-witness limit)
» AIL. Lyons
Mary Worthy
Mary Barlow
Adam Herzog
Dr. William Lewis
Geoffrey S. Raine
Michael Eland Sollie
= Sharon R Zucker-McMannes

Rule 37 discovery dispute
i o Sufficient response due by EOD on February 26
; Ruie 30(b)(6)} Deposition

o Dr. Richard Zenn (March 2 and 3, 5-10pm)
Missing Medical Records

° 169 pages not disclosed to plaintiff
{ « Expert witness Piqueras indicated that based on his "review of the entire medical record of the

patient, an 806 page document which was provided by counsel for the Defendant...”

Melissa West Deposition (March 1 or 3, 5-10pm)
Withdrawal of Dr. Weiss as Expert Witness

* *
=e Bee

| | Respectfully,

Brother T. Hesed-El
: teamwork3@amail.com
i 470-918-2585

httpsv/mail google.com/mailhv0/?ik=2507103360 & view=pt&search=all&pennthid=thread-a:r-5 1935674290 1798425. &simpl=msp-a:14967842344 10748791 2/2

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EXHIBIT R

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 13 of 39

Exhibit R, pg. 1 of 3
4/7/24, 9:42 PM Gmail - Meet and Confer Recap: February 28, 2024

© mal | Brother El <teamwork3@gmail.com>

Meet and Confer Recap: February 28, 2024

Brother EL <teamwork3@gmail.com> Wed, Feb 28, 2024 at 3:03 PM
To: Dan Walsh <DWalsh@roberts-stevens.com>

Ce: Phillip Jackson <PJackson@roberts-stevens.com>, Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball
<JKimball@roberts-stevens.com>

Mr. Walsh,

Thanks for speaking with me this morning. Below is a recap of our discussion. Please note that! am requesting that we
meet and confer to finalize the unresolved items as soon as possible. Per our conversation from this moming, | can wait
until tomorrow at 11:30am to meet and confer to resalve these items. If you cannot meet at that time or opt to decline my
offer to compromise, | will move forward with filing all necessary motions as opposed and inform the Court accordingly.

* Robin Bryson confirmation for March 12 deposition - unresolved
* Consent fo withdrawal of Dr. Weiss as expert witness - unresolved
+ Joint motion to extend discovery deadline - unresolved

© Vaya Health extension - both parties agree

0 NCDHHS extension - both parties agree

e Dr Zenn deposition extension - unresolved

e Dr Kaufman deposition - unresolved
Motion to designate Dr. Kaufman as replacement expert witness - opposed
Motion to strike Dr. Kaufman's rebuttal expert witness report - opposed
Rule 37 dispute letter - unresolved
806 page digital medical record - unresolved
Contact information for Plaintiff's requested deponents - unresolved
Notice of Deposition for Melissa West - unresolved

Please let me know if | missed anything or if your understanding of the meeting is different.
Respectfully,
Brother T. Hesed-Ei

teamwork3@gmail.com
470-918-2585

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Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 14 of 39

Exhibit R, og. 2 of 3
4/7124, 9:45 PM Gmail - Meet and Confer Recap: February 28, 2024

Camail Brother Ei <teamwork3@gmail.com>

Meet and Confer Recap: February 28, 2024

Brother EL <teamwork3@gmail.com> Fri, Mar 1, 2024 at 9:78 AM
To: Dan Walsh <DWalsh@roberts-stevens.com>

Co: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson
<PJackson@roberts-stevens.com>

Mr. Waish,

Tried to reach you by phone again this morning to finish our meet and confer. | respectfully ask that you return my call at
your earliest availability, or in the alternative, state that you are not willing to meet and confer.

The discovery deadline is on Monday, March 4, 2024. | wouldn't want my case to be disadvantaged on account of waiting
for you to finalize our joint motion to extend the discovery deadline.

| ask that you please make clear your intentions. Thank you.

Kind regards,

Brother T. Hesed-El
teamwork3@gmaii.com

470-918-2585

On Thu, Feb 29, 2024 at 12:36 PM Brother EL <teamwork3@gmail.com> wrote:
| Mr. Walsh,

What time would you like to meet and confer tomorrow?

| Respectfully,

|

Brother T. Hesed-E!
teamwork3@gmaii.com

| 470-918-2585

: On Thu, Feb 29, 2024 at 12:19PM Brother EL <teamwork3@gmail.com> wrote:
Sounds good, thank you.

| On Thu, Feb 29, 2024 at 11:15AM Dan Walsh <DWalsh@roberts-stevens.com> wrote:

| ; [have a number of hearings today and am unlikely to be available until tomorrow. i will direct my
' | | assistant to contact you with your password info.

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V2

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Exhibit R, pg. 3 of 3
Al7/24, 9:45 PM Gmail - Meet and Confer Recap: February 28, 2024

' Thanks,
Dan Waish

Daniel H. Walsh

Attorney | Roberts & Stevens, P.A.
City Centre Building | 301 College Street, Suite 400, Asheville, NC 28801

Office: 828-252-6600 | Direct: 828-210-6818
www.roberts-stevens.com

From: Brother EL <teamwork3@gmail.com>

Sent: Thursday, February 29, 2024 9:59 AM

' ‘To: Dan Waish <DWalsh@roberts-stevens.com>

Ce: Phillip Jackson <PJackson@roberts-stevens.com>; Cheri Brown <CBrown @roberts-
stevens.com>; Jessica Kimball <JKimbali@roberts-stevens.com>

Subject: [EXT]Re: Meet and Confer Recap: February 28, 2024

Good morning, Mr. Waish,

Following up on this. Do you think you'll have a few minutes to confer this morning?

Respectfully,

| Brother T. Hesed-El

teamwork3@gmait.com

| | 470-918-2585

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 16 of 39

22

EXHIBIT S

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 17 of 39

Exhibit S, pg. i of 2
4/7/24, 9:46 PM Gmail - WITHDRAWN - Proposed Joint Motion to Extend Deadline

G ma if Brother El <teamwork3@gmail.com>

WITHDRAWN - Proposed Joint Motion to Extend Deadline

1 message

Brother EL <teamwork3@gmail.com> Sun, Mar 3, 2024 at 8:59 PM
To: Dan Walsh <DWalsh@roberts-stevens.com>
Co: Phillip Jackson <PJackson@roberts-stevens.com>, Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball

<JKimball@roberts-stevens.com>

Mr. Waish,

Out of respect for everyone's time, I've decided to withdraw my proposed motion to extend the discovery deadline. 1 much
rather settle this case during our upcoming mediation. If we go to trial, | will question your clients at that time. Asettlement
offer is forthcoming. Thank you.

Respectfully,
Brother T. Hesed-El

teamwork3@gmail.com
470-918-2585

hetps:/fmail.google ,com/mail/a/0/7ik=2507103360& view=pté&search=alk& permthid=thread-a:r9 [2083446757625 7975ésimpl=msg-a:r-38696880 130631 8089 f ut

Case 1:21-cv-00305-MR-WCM Document 182-2 Filed 04/08/24 Page 18 of 39

Exhibit S, pg. 2 of 2
4/8/24, 1:44 AM Gmail - Dr. Kaufman’s Deposition and Rule 26 Supplemental Disclosures

Coma il Brother El <teamwork3@gmail.com>

Dr. Kaufman’s Deposition and Rule 26 Supplemental Disclosures
1 message

Brother EL <teamwork3@gmail.com> Wed, Mar 6, 2024 at 5:58 AM
To: Dan Walsh <DWaish@roberts-stevens.com>

Cc: Cheri Brown <CBrown@roberts-stevens.com>, Jessica Kimball <JKimball@roberts-stevens.com>, Phillip Jackson
<PJackson@roberts-stevens.com>

Mr. Waish,

On February 28, you informed me that you may want to depose Dr. Kaufman, but you didn’t say for sure. As a courtesy, |
reached out fo Dr. Kaufman and he responded indicating he is generally available in the evenings, but a daytime deposition may
be possible as well. You didn’t raise this topic during our meet and confer on March 3, but! thought it may be helpful to remind
you of the conversation.

Next, please note that Sheik Johns El of Moorish Science Temple 77 is in the process of providing corrections to his discovery
responses. Once | receive those corrections from their secretary, | will be sure to provide notice to you and your clients.

Lastly, since | was not provided a confirmed date to depose Robin Bryson and Dr. Richard Zenn (Rule 30(b}(6} designee) before
discovery closed, nor was | provided the contact information for the additional persons from Mission Hospital sought for
deposition within the samme period, | may seek further Information from them in the form of subpoenas. Please let me know if you
have any issue or concern with accepting such subpoenas on their behalf.

Thank you.
Respectfully,
Brother T. Hesed-E]

teamwork3@gmail.com
470-918-2585

https://mail google. com/mailful0/?ik=25071033608cview=ptésearch=allépermthid=thread-a;18129636596352703892&simpi=msg-air8703280667904934949 i/t

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BBS

Board of Behavioral Sciences

£625 North Market Blyd., Suite $-200
Sacramento, CA 95834

(916) 574-7830, (916) 574-8625 Fax
www.bbs,ca.gov

To: Committee Members Date: December 8, 2022

From: Rosanne Helms Telephone: (916) 574-7939
Legislative Manager

Subject: Discussion of Pastoral Counseling

The law requires a valid and active license or registration in order to provide services
within the scope of the Board’s practice acts, unless an individual is working in an
exempt setting (defined as a school, college, university, governmental entity, or an
institution that is both nonprofit and charitable), or is in a profession that is exempted.

Currently, the law exempts priests, rabbis, and ministers of the gospel of any religious
denomination, as follows:

LMETs

BPC §4980.01 (b)

This chapter shall not apply to any priest, rabbi, or minister of the gospel of any religious
denomination when performing counseling services as part of their pastoral or
professional duties, or to any person who is admitted to practice law in the state, or a
physician and surgeon who provides counseling services as part of their professional
practice.

LPCCs

BPC §4999.22 (c)

This chapter shall not apply to any priest, rabbi, or minister of the gospel of any religious
denomination who performs counseling services as part of their pastoral or professional
duties, or to any person who is admitted to practice law in this state, or who is licensed
to practice medicine, who provides counseling services as part of their professional
practice.

LCSWs
BPC §4996.13 (f)
Nothing in this article shall prevent qualified members of other professional groups from

doing work of a psychosocial nature consistent with the standards and ethics of their
respective professions. However, they shall not hold themselves out to the public by any

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tite or description of services incorporating the words psychosocial, or clinical social
worker, or that they shall not state or imply that they are licensed to practice clinical
social work. These qualified members of other professional groups include, but are not
limited to, the following:

(f} A priest, rabbi, or minister of the gospel of any religious denomination.
Enforcement

The Board has occasionally received complaints about an individual who appears to be
practicing independently without a license. The person is ordained by a religious entity,
but not performing services as part of their ministerial duties. Although this is likely not
the intent of the law, the Board is typically unable to take disciplinary action (by issuing
a citation). Therefore, the Board may wish to consider clarifying the circumstances
under which pastoral counseling is exempt from licensure.

Other States

Staff found laws in three other states where the law provided more specificity regarding
the allowance of pastoral counseling.

1. Texas
Texas LMFT law’ defines a recognized religious practitioner as follows:

Recognized religious practitioner--A rabbi, clergyman, or person of similar status
who is a member in good standing of and accountable to a legally recognized
denomination or legally recognizable religious denomination or legally
recognizable religious organization and other individuals participating with them
in pastoral counseling if:

(A) the therapy activities are within the scope of the performance of regular or
specialized ministerial duties and are performed under the auspices of
sponsorship of an established and legally recognized church, denomination
or sect, or an integrated auxiliary of a church as defined in 26 CFR
§1.6033-2(h) (relating to Returns by exempt organizations (taxable years
beginning after December 31, 1969) and returns by certain nonexempt
organizations (taxable years beginning after December 31, 1980));

(B) the individual providing the service remains accountable to the established
authority of that church, denomination, sect, or integrated auxiliary; and

(C} the person does not use the title of or hold himself or herself out as a
licensed marriage and family therapist.

1 Law shown applies to Texas State Board of Examiners of Marriage and Family Therapists. Texas
Administrative Code Title 22, Part 35, §801.2(22)

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2. Florida
Florida statute regulating clinical, counseling, and psychotherapy services
provides the following?:

No provision of this chapter shall be construed to limit the performance of
activities of a rabbi, priest, minister, or member of the clergy of any religious
denomination or sect, or use of the terms “Christian counselor” or “Christian
clinical counselor’ when the activities are within the scope of the performance of
his or her regular or specialized ministerial duties and no compensation is
received by him or her, or when such activities are performed, with or without
compensation, by a person for or under the auspices or sponsorship, individually
or in conjunction with others, of an established and legally cognizable church,
denomination, or sect, and when the person rendering service remains
accountable to the established authority thereof.

3. Arizona
Arizona statute applying to the Board of Behavioral Health Examiners provides
the following*:

A rabbi, priest, minister or member of the clergy of any religious denomination or
sect if the activities and services that person performs are within the scope of the
performance of the regular or specialized ministerial duties of an established and
legally recognizable church, denomination or sect and the person performing the
services remains accountable to the established authority of the church,
denomination or sect.

Recommendation

Conduct an open discussion regarding whether any changes should be made to the
Board’s statutes related to pastoral counseling.

2 The 2022 Florida Statutes, Title XXXII, Chapter 491 §491.014(3}
3 Arizona Revised Statutes, Title 32, §32-3271(A}(3)

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Ministry, and views of the Holy Divine doctrine, of the

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was publicly ordained to the work of

THE DIVINE MINISTRY

PROPHET NOBLE DREW ALI, FOUNDER

Whosoever receiveth these ORDINATION PAPERS is to teach Love, Truth, Peace, Freedom and Justice;
teach men the Holy and Divine laws, and to obey the laws of the government, because our principle is to gplint
fallen humanity. You are to set aside Temple, through the guidence of the Prophet, and the grand bedy of the
Moorish Science ‘Temple of America, Teach men, upon the hedges and the highways to repent from their sinful
ways, That they learn to love instead of hate.

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Cc @

Moorish Science Temple of America

Prophet Noble Drew AN, Founder
To ALL Whee These Presets May Come,

Greetings from the Home (0 fice

Hy virtue af Lhe authority vcated in the Moat Holy Praphet, Noble Drew ATi, the Moorish
Science fomple of America by a fawlully granted Charter uf the State of Ubingis harh granted Uhis

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Invested with ali ihe powers and privileges of a Subordinate Temple within the jurisdiction of Lhe
savd Home Office!

Here Yo!

The Officers and member whe benefit under this WARRANT OF AUTHORITY du hereby pledie
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In Testimony fhereof I have hereunto subscribed my nave and affised the Seal of the suid Moorish

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OF AMBRICA “held at ‘ Chicago AE & oe:
___in the County of _Cook -_and State of lifinols, on the 20th BE
- day of July A.D. .19 28 , for that purpose, the following persons Shere i 38
elected appointed -_Frustess SHEIKS 3S

according to'the rulas and usages of such

_MOORISH SCIENCE TEMPLE OF AMERICA. .

NOBLE DREW ALLI, MEALY EL, MALL BEY, LOVETT BEY, AND FOREMAN BEY

phe Moorish Science Temple of America Geriving ite power and aushoriey:

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‘learning and truth of the Great prophet of ALL in America, To anoint _ a a hae
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appoint and conse ecrate missionaries of the prophet and to

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And said MOORISH SCIENCE TEMPLE OE AMERICA

MOORTSH BELENCE TEMPLE, OE aMERIOK

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“gorporate name the following

‘And at said meeting, this affiant acted as Presiding Officer

Seis Meee

Subscribed and Sworn to Before me,

this 20th” ts day of |

July : AD, 1928

Roberta W. Counul) ‘

‘Notary Public ie
See Hurd’s Rev. Stat, Chap. 32, 36, *Our appointed *Or Wardens, vestrymen, ¢ or whatever nama they may y adept
: err

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CHAPTER 805 BUSINESS ORGANIZATIONS
805 ILCS 115/ Religious Corporation Validation Act.

ta05 ILCR q1S/)} (team Ch. 32, par. 139.3)

Sac, i1- In any cace where any church, eongredaLlan oF sociely forned far the
purpose of rebigious worship has Filed, OY caused to be filed, prior to the
aftentive date of thie Act, 4m aftidavie in the aifice af the recerder of deeds in
the caunty in which such cangreqatilony ehucoh or gocialy is organized in which are
ant torth the name of the organization and Lhe place where locatad and in good
faith has proceeded Qo conduet worship nervices and otherwise £oO Garry oub tne
tunctions for which formed although rhe affidavit my nok set forty recitals Chat
the heugteak Were elected oz that the carparabe name was adopted in phe manner
provided tor by Sections 45 and 36 of "An Act wancerning corporations", approved
April 18, igle, 86 amended, or may not nave been made by the chairman or bY rhe
gecceLary of 4 merbhing a8 required by gaid Act, the incorporation ot such chucch,
congregation oF sodiery and ail ifs acts and Leangections whieh are @therwise legal
are hereby declared velidated end teqal.

(Source: Laws 1969, pe 745.)

(605 TLCS y15/2) (from ch. 32, par. 1ea.4)

Sec, 2, Shart titie. This Act may be cited as the Religious Corporation
Validation Act.
(Source: PaA. BG-1324.3

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’ The Divine Constitution. and By-Law ;
ACT 4, The Gea Sheik and the chairman , , Act 6. - With us all members must proclaim ,
of the Moorish Science Temple of America-is la : 7 thelr nationality and we are feaching, our people * 3
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Exhibit T, pg. 8 of 10

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said government, and know that they are nof 4
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assistance of the prophet and the Grand body of
the Moorish science ‘Femple of America, ; The
assistant Grand Sheik is (o assist the Grand ‘Sheik
in oll affairs if he lives according tu Love, Truth,

“Peace, Freedany and Justice,‘and it is known slaves by slave holders in 1779 und fasted: until a
before the members of the Moorish ‘Science £865 during the time of slavery, but this is a new x
Temple of America. ' era uf ime now, and all men now must proclaim a
their free national name te be revapnized hy the i
~ Act 2, - - AH meetings are to be opened ond government in which they Hive and the ations of ‘
tlosed promptly according ta the cirele seven and ihe earth, iis is the reason why Allah the Great i
Love, Truth, Peace, Freedom and Justice, Friday God of the universe ordained Noble Brew Ali, The y
is our Holy Day of rest, heeause oa a Friday the Prophet to redeem his people from thelr sinful
first man was formed in Aesh and on a Friday the ways. The Moorish Aniericans are, the descen-
first man departed owt of flesh and ascended ante dants of the anclent Moabites whan inhabited the 4
his father God Alinh, for that cause Friday is Ute North Western ond South Western shores “of 4
i . Holy Bay for all Moslems all over the world. Mrico. : , h
4 Act 3: - Love. Truth, Peace, Freedem and Act 2 - All members must promptly attend 4
Justice must be procksimed and practiced by all their meetings and become 2 pact and a partial of 4
members of the Moris Science Temple of all uplifting acts af the Moorish Science Temple %
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" slon at all that may harm his brother or sister, Science Temple of America, then your are enli{tcit Ni i
. Because Allah is Love. lo-the naine af, * ‘Faithful. Husband, xis Cindy metebs > Ey
: stipport your wife and children; witegabSatust P:
a Act 4. - AH members must preserve these Holy tf obey your husband and lake care uly dare children
7 _. ond Divine laws, and all members must obey the” and Wok after the duties of your household, Stns, ‘4
he lows of the government. because by being 4 * and daughters niust abey father and matheran fy
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
Civil Action No. 1:21-cv-305-MR-WCM

BROTHER T. HESED-EL, )
)
’ Plainti, DECLARATION OF
SHEIK JOHNS BL
ROBIN BRYSON, et al., )
)
Defendants. )

On February 8, 2024, I, Bro. 8. Johns Ei, Sheik of the Moorish Science Temple of America
Temple No. 77, received from Plaintiff an email titled “Background Does and Expert Witness
Report” for my review as the expert witness in this case. There were two attachments to that email:
(1) Medical Records Referenced in Dr. Weiss Referral Letterpdf and (2) Affidavit of Dr,
Weiss.pdf. Those records were pertaining to this case and his complaint against Mission Hospital.
During my deposition, attorney Daniel Walsh questioned me about whether I had reviewed
Plaintiff’s 806 pages of medical records, which caused me to draw a blank and answer incorrectly.
The correct answer should have been that “I discussed this case with Plaintiff prior to my
deposition, including but not limited to, the records I received from him on February 8, 2024”.

While serving in the capacity as Plaintiff’s pastoral counselor from 2021-2023, I provided
psychotherapy services through a variety of treatments aimed to help him identify and change
troubling emotions, thoughts, and behaviors. The goals of the counseling sessions were to help

Plaintiff gain relief from symptoms arising from mental slavery and past trauma, including but not

limited to, what he suffered at Mission Hospital. Through these services, to help him maintain or

enhance daily functioning and improve quality of life, with the assistance of the Prophet, I heiped

Plaintiff become aware of certain ways of thinking that are inaccurate or harmful (for example,

having a low opinion of his abilities) and then question those thoughts, understand how the

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Document ID: 7b46e53223ec431 181a25767efdal3e4aa006878

thoughts affect his emotions and behavior, and change self-defeating behavior patterns. The
counseling sessions were also tailored to help him identify ways to cope with stress and anxiety
and develop problem-solving strategies as he strived to heal. Some sessions were conducted in a
group setting to help him examine his interactions with others and teach social and communication
skills, apply mindfulness and relaxation techniques, and track emotions, anxiety, and other harmful
behaviors (e.g., hatred, slander, lewdness, murder, theft) to raise his awareness regarding the
impact that such behaviors could have on himself and others.

These counseling sessions occurred from time to time before or after our Holy Day
meetings on Fridays, for 1-2 hours per session. To help Plaintiff recover, he had to learn that:
“Inconstancy is powerful in the heart of man; Intemperance swayeth it whither it will, Despair
engrosseth much of it; and Fear proclaimeth: ‘Behold, I sit unrivalled therein,” but Vanity is beyond
them all.” In general, the counseling sessions were intended to help Plaintiff apply to his life the
iessons learned during our meetings; and that he is called to “Teach men, upon the hedges and the
highways to repent from their sinful ways. That they learn to love instead of hate.”

This is the gnosis of the aught and the naught.

FURTHER AFFIANT SAYETH NOT.

28 U.S. Code § 1746: I declare (or certify, verify, or state) under penalty of perjury that
the foregoing is true and correct,

Executed on 03/21/2024

ube HRC

Bro. Johns El, Sheik

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EXHIBIT U

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ASH2A, 9:57 PM HEE 2:1 ~ Deposition Update
agi
Deposition Update
Christopher Lund <manager@psychiatryaustin.com> Mon, Feb 5, 2024 at 9:07 PM

To: Taqi £) RR. Mb Psychiatry Austin <md@psychiatryaustin.com>

Hello. | called/texted you tonight as soon as | learned about this. Unfortunately, per Dr.
Weiss, the upcoming deposition will need to be rescheduled. Is there a good time
for me to call you tomorrow? Thanks!

Very truly yours,

Christopher Lund, Practice Manager
Psychiatry Austin | Leonard Weiss, M.D.
Office: 512-646-0880

Board-certified in Psychiatry, Forensic Psychiatry, Addiction Psychiatry, and Brain Injury
Medicine

American Board of Psychiatry and Neurology

Board-certified in Internal Medicine, American Board of Internal Medicine

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Exhibit U, pg. 2 of 8

SPA, 5.20 PM

Piedmant Atlanta

Hospital 5 South
1968 PEACHTREE RD AW
ATLANTA GA 30309-1284
Phone 404-605-3540

Fax 404-608-6726

Electronically signed and verified on 2/5/2024 by No name on file

image.png

February 5, 2024

Patient: Leonard J Weiss
Date of Birth: 47/144983
Date of Visit 2/4/2024

To Whom It May Concern:

Please note that Mr, Leonard J Weiss has been admitted to PAH 2/4/2024 9:17 PM,
discharge date to be defermined based on progress.

Hf you have any questions or concems, please don't hesitate to call
my office at 404 367-3014.

Sincergly, Lo
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MD

Mihai Lascar,
2/5/2024

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Exhibit U, pg. 3 af &
iMessage
Sat, Feb 24 at 10:05AM

Hi Taqi, my name is Adrianne. | am the personal assistant
for Dr Weiss. | wanted to let you know that | am taking him
to the ER as | send this message, he has had some kind of
complication. If you could please give me a call back at
this number | would greatly appreciate it.

Hello Adrianne. Calied and was forwarded to voicemail
. Left a VM. Can you call me back please

Thanks for speaking with me, Adrianne. | pray that Dr.
Weiss wil! recover and heal from the medical
complications he’s experiencing. | will relay Dr. Weiss’
message to the opposing counsel. If you could, please
provide some form of documentation once he is admitted.
Thank you.

Oh of course. | will send something as soon as | can! Talk

- to you soon!

Mon, Feb 26 at 8:56AM

Good morning. Any update on Dr. Weiss? -

Thu, Feb 29 at 12:26PM

Good morning.
Following up for a copy of the ER documentation.

May need that in case the Court ask for proof as to the Dr.
Weiss cancellation of the 2nd deposition.

. Yes sir, | will get that to you today. | apologize for such the
| delay. Been dealing with Dr Weiss and all his Dr
- appointments

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Thank you. | pray he recovers well. :

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Exhibit U, pg. 4 of B

' | do too! Thank you!

Wed, Mar 6 at 11:51AM

Hello Adrianne. Following up on the documentation. Are
you still able to provide that?

Wed, Mar 6 ai 1:37PM

: Let me get with Chris. | sent him the documents.

Thank you.

Read 3/6/24

' No problem

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AIT24, 9:58 PM BE 01231 i001 tevoicereporisetund

Gmail Taqi El

Final Invoice/Reports/Refund

Christopher Lund <manager@psychiatryaustin.com> Thu, Mar 7, 2024 at 10:23 PM
To: Taqi El
Gc: MD Psychiatry Austin <md@psychiatryaustin.com>

Attached is the General ED Discharge Summary that was provided. Thanks!
Very truly yours,

Christopher Lund, Practice Manager
Psychiatry Austin | Leonard Weiss, M.D.
Office: 512-646-0880

Board-certified in Psychiatry, Forensic Psychiatry, Addiction Psychiatry, and Brain Injury
Medicine

American Board of Psychiatry and Neurology

Board-certified in Internal Medicine, American Board of Internal Medicine

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Exhibit U, pg. 6 of 8

Patient; WEISS,LEGNARD JAY
. Account No: K19603491336
StDavia's | SOUTH AustTIN Account No: K196034
a S . .
MEDICAL CENTER Ae EMERGENCY DEPARTMENT

Physician: Rhodes,Jeffrey P MO
Date: 02/24/24

GENERAL ED DISCHARGE INSTRUCTIONS

St. David's South Austin Medical Center
901 W. Ben White Blvd, Austin, TX 78704
(512) 447-2241

General Emergency Department Discharge Instructions

The treatment and evaluation you received have been provided on an emergency basis
only and is not intended to be a substitute for, or an effort to provide complete
medical care. It Is Important that you foliow up with your primary care provider for
ongoing monitoring and intervention, Tell your follow-up physician or clinic that we
have sent you, Take a copy of your discharge instructions, which includes a fist of
your current medications and any new medications prescribed and share this
information with them. Jf you had x-rays, an EKG, or lab tests today, they have been
reviewed by your doctor, We will contact you at once if other important findings are
noted after further review by our staff. If your symptoms become worse or you do not
improve as expected and you are unable to reach your usual health care provider, you
should return to the Emergency Department. We are available 24 hours a day. Please
make an appointment for further treatment as instructed.

-There are occasions where additional lab tests retum - such as a culture result or
an X-ray or EKG - is further reviewed after you are discharged. If a change in your
diagnosis or treatment is indicated, we will attempt to contact you. If is critical

that we have a current phone number for you.

-If you have received any radiology testing today, please note that the x-ray has
been read by your ED physician. A final reading by a Radiologist will be completed
and you will be notified by the Emergency Department staff of any additional
findings. If you need a copy of your x-ray for your follow-up appointment, please
contact Medical Records at 512-816-6308.

-Cutture results may take 2-3 days. We review many culture resuits and will attempt
to contact you if the results are significant or may change your treatment. But you
ray also call us back to review culture results, and we encourage you to do so if you
have any questions or concerns. You may obtain a copy of your culture results from
our medical records department Monday ~ Friday 8:30am- 4:00pm The phone number is
512-816-6308.

Preventative Health Instructions:
The care you received in the emergency department has been done on an emergency basis
only and is not intended to be a substitute for regular medical care. If yaur
condition or symptoms persist or get worse at any time, you should return to the
emergency department if you're unable to contact your own physician. Please
.. understand that although we may not have determined a specific cause of your syrrptams
today, further evaluation may be necessary. Kt is important to get a primary care
provider (doctor, PA, or nurse practitioner) for follow up as well as ongaing
heaithcare needs, :

The following information is provided for you as education regarding preventative

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Patient: WEISS, LEONARD JAY

Account No: K19603491336

Unit No: KO00733515

Location: EMERGENCY DEPARTMENT
SAMC

Physician: Rhodes,Jeffrey P MB

Date: 02/24/24

health care and follow up from your emergency department visit:

Reguiar exercise, good diet and adequate fluid intake are very important for general
health raintenance. Please discuss these with your primary care doctor ta develop a
plan specific to your needs.

If you would like assistance in scheduling your specialty appointment and have not
received a call or text in 1-2 business days, please call Appointrrent Services

directly at 512-591-2734

SMOKING CESSATION: Smoking is related to many diseases including Pneumonia,
Bronchitis, Emphysema, Various Cancers, Heart Attack, and Stroke. If you are a
smoker, we encourage you to quit. There are many methods to help you quit. Please
discuss these options with your primary care physician, your clinic, or go online to
the: American Lung Association at www.lungusa.org and double click the Quit Smoking
icon in the tabs at the top of the page.

IMMUNIZATIONS:

Vaccines are available for vaccine preventable diseases including Hepatitis A and B,
Diphtheria, Tetanus, Pertusis, Haemophilus Influenzae, Polio, Measles, Mumps,
Rubella; Vaticella (chicken Pox), Pneumococcal and Influenza. It is important to
keep children up to date on their immunization schedule to help prevent the spread of
these diseases. If you have children, please discuss their imvnunization schedule

with the child's primary care physician or clinic, IF you are in Williamson County

calt 512-930-4386; or in Travis County call 512-972-5400 for more infonvation.

ABUSE:

No one deserves physical or errotional abuse, If you are the victin of abuse; either
physical, sexual, or psychological, help is available, Please discuss any concemms
you have with your ED physician, your primary care physician, or your clinic. Hope
Alliance is an organization with the sole purpase of assisting those affected by
domestic abuse and violence. Please call their hotline at 1-800-460-SAFE (7223) or
800-799-7233 (National Domestic Violence Hotline} or online www.hopealliancetx.org

SUICIDE RISKS ANDO WARNING SIGNS:
Please call the Suicide Prevention Lifeline at 986 or Crisis Services at
4-800-841-1255 if you are experiencing or notice suicide risks and warning

MENTAL HEALTH CRISIS INFORMATION:
if you are experiencing a mental health ernergency call, 1-800-841-1255 anytime for
invnediate assistance.

SEAT BELTS:

Seat belts save lives. Each percentage-point increase in safety belt use represenis
2.8 million. more people bucking up, 250 more lives saved, and 6,400 serious Injuries
prevented annually. We encourage everyone to use your safety belt correctly and
restrain children appropriately. Please go to www.imntsa.dot.gov for more
information.

SATISFACTION SURVEY REMINDER:

We care about your health in the hospital and at home. Providing you an excellent
experience is our top priority. Please expect an automated phone call or text so we

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Patient; WEISS,LEONARD JAY
Account No: K19603491336
S*Davi d's | SQUTH Unit No; KO00733515
a | MEDICAL Location: EMERGENCY DEPARTMENT
. SAMC

Physician: Rhodes,Jeffrey P MD
Date: 02/24/24

if you need help or have questions about MyHealthOne, call (855) 422-6625.

Manage the health of a loved one

Authorized parents or caregivers can act on behalf of a patient, such as a child

or elderly parent, to view hospital records, sign up for classes or provider

appointments, pay hospital bills and more.

4, Visit our hospital and complete the Proxy Express Waiver form.

2. Once the patient has been discharged, call (855) 422-6625 to complete the
enrollment process.

3. Sign in to MyHealthOneMyHealthOne and begin managing the heaith of your toved
ones,

If you need help or have questions about MyHeaithOne, cail (855} 422-6625.

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